                   Case 19-11626-KG              Doc 951       Filed 02/10/20         Page 1 of 8




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                        ) Chapter 11
                                                                  )
                                        1
    PES HOLDINGS,LLC, et al.                                      ) Case No. 19-11626(KG)
                                                                  )
                                                 Debtors.         ) (Jointly Administered)
                                                                  )



     NOTICE OF AGENDA FOR HEARING SCHEDULED ON FEBRUARY 12,2020 AT
     9:30 A.M.(PREVAILING EASTERN TIME),BEFORE THE HONORABLE KEVIN
    GROSS AT THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
                 DELAWARE,LOCATED AT 824 NORTH MARKET STREET,
             6TH FLOOR.COURTROOM NO,3, WILMINGTON.DELAWARE 19801^


CONTINUED MATTER:

1.           Debtors’ Application for Entry of an Order Authorizing Retention and Employment of
             Klehr Harrison as Special Employees’ Counsel Nunc Pro Tunc to December 1, 2019
             Pursuant to Sections 327(e), 328(a), 330, and 363(b)(1) of the Bankruptcy Code [Filed:
             1/16/20](Docket No. 759)

             Response Deadline: January 30, 2020, at 4:00 p.m. ET (extended until February 3, 2020
             at 5:00 p.m. ETfor the Official Committee of Unsecured Creditors)
             Responses Received:

             a.     Limited Objection and Reservation of Rights ofthe Official Committee of
                    Unsecured Creditors to the Debtors’ Application for Entry of an Order
                    Authorizing Retention and Employment of Klehr Harrison as Special Employees’
                    Counsel Nunc Pro Tunc to December 1, 2019 Pursuant to Sections 327(e), 328(a),
                    330, and 363(b)(1) ofthe Bankruptcy Code [Filed: 2/3/20](Docket No. 871)




1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: PES Holdings, LLC (8157); North Yard GP, LLC (5458); North Yard Logistics, L.P.(5952); PES
       Administrative Services, LLC (3022); PES Energy Inc. (0661); PES Intermediate, LLC (0074); PES Ultimate
       Holdings, LLC (6061); and Philadelphia Energy Solutions Refining and Marketing LLC (9574). The Debtors’
       service address is: 1735 Market Street, Philadelphia, Pennsylvania 19103.
^      Any party who wishes to attend telephonically is required to make arrangements through CourtCall by
       telephone(866-582-6878)or by facsimile (866-533-2946).


DOCS DE:227387.3 70753/001
                Case 19-11626-KG       Doc 951       Filed 02/10/20    Page 2 of 8




        Related Documents:


        a.      [Proposed] Order Authorizing Retention and Employment of Klehr Harrison as
                Special Employees’ Counsel Nunc Pro Tunc to December 1, 2019 Pursuant to
                Sections 327(e), 328(a), 330, and 363(b)(1) of the Bankruptcy Code [Filed:
                1/16/20](Docket No. 759, Exhibit A)

        Status: This matter is continued to a date to be determined.

CONFIRMATION OF PLAN:

2.      Second Amended Joint Chapter 11 Plan of Reorganization of PES Holdings, EEC and Its
        Debtors Affiliates [Filed: 1/29/20](Docket No. 827)

        Deadline for Objections to Confirmation: February 3, 2020, at 4:00 p.m. ET (extended
        until February 5, 2020 at 12:00 p.m. ETfor the United States Attorney’s Office)

        Objections to Confirmation:

        a.       Informal comments from the United States Attorney’s Office

        b.       The Official Committee of Unsecured Creditors’ Fetter Regarding
                 Recommendation on Vote to Reject Joint Chapter 11 Plan of Reorganization
                 [Filed: 1/23/20](Docket No. 785)

        c.       Fetter Dated January 10, 2020 to the Honorable Kevin Gross from Eawrence M.
                 Farnese, Jr., Democratic Caucus Secretary Regarding Refinery Site [Filed:
                 1/14/20](Docket No. 743)

        d.       Fetter Dated January 14, 2020 to the Honorable Kevin Gross from Anthony H.
                 Williams, Democratic Whip Regarding Refinery Site [Filed: 1/15/20](Docket
                 No. 748)

        e.       Fetter Dated January 15, 2020 to the Honorable Kevin Gross from Jordan A.
                 Harris, Democratic Whip Regarding Refinery Site [Filed: 1/16/20](Docket No.
                 787)

        f        United States Trustee’s Objection to Confirmation of Second Amended Joint
                 Chapter 11 Plan of PES Holdings, EEC and Its Debtor Affiliates [Filed: 1/31/20]
                 (Docket No. 851)

        g-       Response and Reservation of Rights of Merrill Fynch Commodities, Inc.
                 Regarding Second Amended Joint Plan of Reorganization of PES Holdings, EEC
                 and Its Debtor Affiliates [Filed: 2/3/20](Docket No. 855)

        h.       Murex EEC’s Eimited Objection to Confirmation of Joint Chapter 11 Plan of PES
                 Holdings, EEC and Its Debtor Affiliates [Filed: 2/3/20](Docket No. 857)


DOCS DE:227387.3 70753/001                       2
                Case 19-11626-KG            Doc 951       Filed 02/10/20   Page 3 of 8




        1.       Objection of Westchester Fire Insurance Company to Second Amended Joint
                 Chapter 11 Plan of Reorganization of PES Holdings, LLC and Its Debtor
                 Affiliates [Filed: 2/3/20](Docket No. 858)

        J-       Limited Objection of Point Breeze Renewable Energy, LLC to Confirmation of
                 Second Amended Joint Chapter 11 Plan of PES Holdings, LLC and Its Debtor
                 Affiliates [Filed: 2/3/20](Docket No. 865)

        k.       Objection, Reservation of Rights, and Response of the United Steelworkers to
                 Confirmation of the Second Amended Joint Chapter 11 Plan of PES Holdings,
                 LLC and Its Debtor Affiliates [Filed: 2/3/20](Docket No. 866)

                 Limited Objection and Reservation of Rights of ETC Sunoco Holdings LLC, et
                 ah, to (I) Proposed Sale to Hilco Redevelopment Partners and (II) Confirmation of
                 First Amended Joint Chapter 11 Plan of PES Holdings, LLC and Its Debtor
                 Affiliates [Filed: 2/3/20](Docket No. 868)

                 (i)         Exhibit C to Limited Objection and Reservation of Rights of ETC Sunoco
                             Holdings LLC, et ah, to (I) Proposed Sale to Hilco Redevelopment
                             Partners and (II) Confirmation of First Amended Joint Chapter 11 Plan of
                             PES Floldings, LLC and Its Debtor Affiliates [Filed: 2/3/20](Docket No.
                             869)

        m.       Objection of Cypress Fairbanks Independent School District and Harris County to
                 the First Amended Joint Chapter 11 Plan of PES Holdings, LLC and Its Debtor
                 Affiliates [Filed: 2/3/20](Docket No. 870)

        n.       United States’ Protective Objection to Debtors’ Plan of Reorganization, Plan
                 Supplement and Cure Amounts [Filed: 2/4/20](Docket No. 911)

        0.       Objection By the United States to the Debtors’ Second Amended Joint Chapter 11
                 Plan [Filed: 2/5/20](Docket No. 915)

        P.       Objection of the Official Committee of Unsecured Creditors to Confirmation of
                 First Amended Joint Chapter 11 Plan of PES Holdings, LLC and Its Debtor
                 Affiliates and Cross-Motions for a Stay Pending Appeal, Mediation and/or
                 Conversion to a Chapter 7 Proceeding [Filed: 2/6/20](Docket No. 924)

        q-       Joinder to Objection of the Official Committee of Unsecured Creditors to
                 Confirmation of Second Amended Joint Chapter 11 Plan of PES Holdings, LLC
                 and Its Debtor Affiliates [Filed: 2/6/20](Docket No. 925)

        r.       Objection and Reservation of Rights of Multiple Insurers to the Second Amended
                 Joint Chapter 11 Plan of PES Holdings, LLC and Its Debtor Affiliates [Filed:
                 2/7/20](Docket No. 928)




DOCS DE:227387,3 70753/001                            3
                Case 19-11626-KG        Doc 951       Filed 02/10/20   Page 4 of 8




        s.       Letter Response of A Smart Collaboration, LLC [Filed: lIlIlQi](Docket No. 931)

        Replies Received:


        a.       Debtors’ Response to Objection of Official Committee of Unsecured Creditors, in
                 Further Support ofan Order Confirming the Debtors’ Third Amended Joint Chapter
                 11 Plan of Reorganization of PES Floldings, LLC and Its Debtor Affiliates [Filed:
                 2/10/20](Docket No. 949)

        Confirmation Brief:


        a.       Debtors’ Memorandum of Law in Support of an Order Confirming Debtors’ Third
                 Amended Joint Chapter 11 Plan of Reorganization of PES Holdings, LLC and Its
                 Debtor Affiliates [Filed: 2/10/20](Docket No. 950)

        Voting Deadline: February 3, 2020 at 4:00 p.m.

        Plan Supplement:

        a.       Notice of Filing Plan Supplement [Filed: 1/22/20](Docket No. 780)

        b.       Notice of Filing of First Amended Plan Supplement [Filed: 1/28/20](Docket No.
                 819)

        c.       Notice of Filing of Second Amended Plan Supplement [Filed: 2/6/20](Docket No.
                 926)

        Related Documents:


        a.       Joint Chapter 11 Plan of PES Holdings, LLC and Its Debtor Affiliates [Filed:
                  10/10/19](Docket No. 462)

        b.       Disclosure Statement for the Joint Chapter 11 Plan of PES Holdings, LLC and Its
                 Debtor Affiliates [Filed: 10/10/19](Docket No. 463)

        c.       Corrected Disclosure Statement for the Joint Chapter 11 Plan of PES Holdings,
                 LLC and Its Debtor Affiliates [Filed: 10/10/19](Docket No. 465)

        d.       First Amended Joint Chapter 11 Plan of PES Holdings, LLC and its Debtor
                 Affiliates [Filed: 12/11/19](Docket No. 661)

        e.       Disclosure Statement for the First Amended Joint Chapter 11 Plan of PES
                 Holdings, LLC and its Debtor Affiliates [Filed: 12/11/19](Docket No. 662)

        f        [Signed] Order (I) Approving the Adequacy of Information in the Disclosure
                 Statement,(II) Approving the Solicitation and Notice Procedures,(III) Approving
                 the Forms of Ballots and Notices in Connection Therewith,(IV) Scheduling


DOCS DE:227387,3 70753/001                        4
                Case 19-11626-KG        Doc 951       Filed 02/10/20   Page 5 of 8




                 Certain Dates With Respect Thereto, and (V)Granting Related Relief[Filed:
                 12/11/19](Docket No. 671)

        g-       Affidavit of Service of Publication Regarding Notice of Hearing to Consider
                 Confirmation of the Chapter 11 Plan Filed by The Debtors and Related Voting
                 and Objection Deadlines [Filed; 12/27/20](Docket No. 704)

        h.       Affidavit of Service of Omni Management Group, Inc. Regarding Plan
                 Solicitation [Filed: 1/3/20](Docket No. 713)

        1.       Notice of Hearing to Consider Confirmation of the Chapter 11 Plan Filed By the
                 Debtors and Related Voting and Objection Deadline [Filed: 1/7/20](Docket No.
                 721)

        J-       Notice of Filing of Blackline Version of Second Amended Joint Chapter 11 Plan
                 of PES Holdings, LLC and Its Debtor Affiliates [Filed: 1/29/20](Docket No. 828)

        k.       Notice of Continued Hearing to Consider Confirmation of the Chapter 11 Plan
                 Filed By the Debtors and Related Voting and Objection Deadlines [Filed: 2/4/20]
                 (Docket No. 888)

        Status: This matter will go forward.


MATTERS GOING FORWARD:

3.      Debtors’ Motion for Entry of an Order (I) Approving the Debtors’ Key Employee
        Incentive Program and (II) Granting Related Relief[Filed: 11/22/19](Docket No. 605)
        Response Deadline: December 6, 2019 at 5:00 p.m. ET and December 6, 2019 at
        9:00 p.m. ET for the Official Committee of Unsecured Creditors. Extended to December
        30, 2019 (solely for the Committee and the Unions). Extended to January 15, 2020
        (solely for the Committee)

        Responses Received:

        a.       Objection of the United States Trustee to Debtors’ Motion for Entry of an Order
                 (I) Approving the Debtors’ Key Employee Incentive Program and (II) Granting
                 Related Relief[Filed: 12/6/19](Docket No. 644)

        Related Documents:


        a.       [Proposed] Order (I) Approving the Debtors’ Key Employee Incentive Program
                 and (II) Granting Related Relief[Filed: 11/22/19](Docket No. 605, Exhibit A)
        b.       Debtors’ Motion to Shorten Notice and Schedule Hearing with Respect to
                 Debtors’ Motion for Entry of an Order (I) Approving the Debtors’ Key Employee



DOCS DE:227387.3 70753/001                        5
                Case 19-11626-KG        Doc 951       Filed 02/10/20   Page 6 of 8




                 Incentive Program and (II) Granting Related Relief[Filed: 11/22/19](Docket No.
                 606)

                (i)      [Signed] Order Granting Debtors’ Motion to Shorten Notice and Schedule
                         Hearing with Respect to Debtors’ Motion for Entry of an Order (I)
                         Approving the Debtors’ Key Employee Incentive Program and (II)
                         Granting Related Relief[Filed; 11/26/19](Docket No. 612)

        c.       Notice of Debtors’ Motion to Shorten Notice and Schedule Hearing with Respect
                 to Debtors’ Motion for Entry of an Order (I) Approving the Debtors’ Key
                 Employee Incentive Program and (II) Granting Related Relief[Filed: 11/26/19]
                (Docket No. 614)

        d.      Notice of Adjourned Hearing Regarding Debtors’ Motion for Entry of an Order
                (I) Approving the Debtors’ Key Employee Incentive Program and (II) Granting
                 Related Relief[Filed; 12/6/19](Docket No. 648)

        e.      Notice of Adjourned Hearing Regarding Debtors’ Motion for Entry of an Order
                (I) Approving the Debtors’ Key Employee Incentive Program and (II) Granting
                 Related Relief[Filed: 1/6/20](Docket No. 718)

        f        Supplemental Declaration of Jeffrey S. Stein in Support of Debtors’ Motion for
                 Entry of an Order (I) Approving the Debtors’ Key Employee Incentive Program
                 and (II) Granting Related Relief[Filed: 1/21/20](Docket No. 779)

        Status: This matter will go forward as part of confirmation of the Debtors’ chapter 11
        plan of reorganization.

4.      Debtors’ Motion for Entry of an Order Authorizing the Debtors to(A)Exceed the Page
        Limit Requirement for the Debtors’ Memorandum of Law in Support of an Order
        Confirming the Debtors’ Third Amended Joint Chapter 11 Plan ofPES Holdings, EEC
        and Its Debtor Affiliates and to(B) Waive Local Rule 3017-3 [Filed: 2/10/20](Docket
        No. 946)

        Response Deadline: At the hearing.

        Responses Received: None as of the date of this Notice of Agenda.
        Related Documents:


        a.       [Proposed] Order Authorizing the Debtors to(A)Exceed the Page Limit
                 Requirement for the Debtors’ Memorandum of Law in Support of an Order
                 Confirming the Debtors’ Third Amended Joint Chapter 11 Plan ofPES Holdings,
                 LLC and Its Debtor Affiliates and to (B) Waive Local Rule 3017-3 [Filed:
                 2/10/20](Docket No. 946, Exhibit A)

        b.       Motion to Shorten Period for Notice of, and Schedule Flearing on, Debtors’
                 Motion for Entry of an Order Authorizing the Debtors to(A)Exceed the Page


DOCS DE:227387,3 70753/001                        6
                Case 19-11626-KG             Doc 951       Filed 02/10/20   Page 7 of 8




                 Limit Requirement for the Debtors’ Memorandum of Law in Support of an Order
                 Confirming the Debtors’ Third Amended Joint Chapter 11 Plan of PES Holdings,
                 LLC and Its Debtor Affiliates and to (B) Waive Local Rule 3017-3 [Filed:
                 2/10/20](Docket No. 947)

                (i)          [Proposed] Order Shortening Period for Notice of, and Scheduling
                             Hearing on. Debtors’ Motion for Entry of an Order Authorizing the
                             Debtors to(A)Exceed the Page Limit Requirement for the Debtors’
                             Memorandum of Law in Support of an Order Confirming the Debtors’
                             Third Amended Joint Chapter 11 Plan of PES Holdings, LLC and Its
                             Debtor Affiliates and to (B) Waive Local Rule 3017-3 [Filed: 2/10/20]
                             (Docket No. 947, Exhibit A)

        Status: This matter will go forward if the Court approves the motion to shorten.

5.      Motion to Shorten Period for Notice of, and Schedule Hearing on. Debtors’ Motion for
        Entry of an Order Authorizing the Debtors to(A)Exceed the Page Limit Requirement tor
       the Debtors’ Memorandum of Law in Support of an Order Confirming the Debtors’ Third
       Amended Joint Chapter 11 Plan ofPES Holdings, LLC and Its Debtor Affiliates and to
       (B) Waive Local Rule 3017-3 [Filed: 2/10/20](Docket No. 947)

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:


        a.       [Proposed] Order Shortening Period for Notice of, and Scheduling Hearing on.
                 Debtors’ Motion for Entry of an Order Authorizing the Debtors to(A)Exceed the
                 Page Limit Requirement for the Debtors’ Memorandum of Law in Support of an
                 Order Confirming the Debtors’ Third Amended Joint Chapter 11 Plan of PES
                 Holdings, LLC and Its Debtor Affiliates and to(B) Waive Local Rule 3017-3
                 [Filed: 2/10/20](Docket No. 947, Exhibit A)

        Status: This matter will go forward.




DOCS DE:227387.3 70753/001                             7
                Case 19-11626-KG   Doc 951       Filed 02/10/20   Page 8 of 8




Dated: February 10, 2020       /s/ Peter J. Keane

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DOCS_DE:227387.3 70753/001                   8
